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To: Whom It May Concern
Re: Mask mandate
Date: September 1,4, 2O2t

I have interviewed and examined Mr. Michael Bush. I have found him       to have
contraindications to mask wearing for a private medical condition. He is therefore
exempt from the mask mandate according to the letter from Governor Baker
dated May 28, 2021,.

Sincerely




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